        Case 3:08-cr-00046-LC         Document 74          Filed 06/06/08     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:08cr46/LAC

RUSSELL JAMES ANTHONY, et al

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on June 5, 2008
Motion/Pleadings: MOTION TO UNSEAL INDICTMENT
Filed by Government                         on 6/5/08       Doc.# 72
RESPONSES:
                                            on              Doc.#
                                            on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                            WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ Irma McCain-Coby
LC (1 OR 2)                                    Deputy Clerk: Irma McCain-Coby

                                            ORDER
Upon   consideration      of   the    foregoing,      it    is     ORDERED    this   6 th   day   of
June, 2008, that:
(a) The relief requested is GRANTED.
(b)




                                                                 s /L.A. Collier
                                                            LACEY A. COLLIER
                                                      United States District Judge



Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
